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 8                          UNITED STATES DISTRICT COURT

 9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11                                            CASE NO. CV 21-05326-AB(AS)
      ALI AGHAEI,
12                                            ORDER ACCEPTING FINDINGS,
13                     Petitioner,            CONCLUSIONS AND
14         v.                                 RECOMMENDATIONS OF UNITED
15    ARRIEL RUBINSTEIN, et. al.,             STATES MAGISTRATE JUDGE
16
                       Respondents.
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20         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
21   Petition, all of the records herein and the attached Report and
22   Recommendation    of   United   States    Magistrate   Judge   to   which   no
23   objections were filed.       Accordingly, the Court concurs with and
24   accepts the findings and conclusions of the Magistrate Judge.
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26         IT IS ORDERED that Judgment be entered denying the Petition

27   without prejudice.

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 1         IT IS FURTHER ORDERED that the Clerk serve copies of this
 2   Order, the Magistrate Judge’s Report and Recommendation and the
 3
     Judgment   herein    on   counsel   for    Petitioner   and   counsel     for
 4
     Respondent.
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 6         DATED: December 01, 2021

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 8                                             ___________    _________ ____
                                                      ANDRÉ BIROTTE JR.
 9                                              UNITED STATES DISTRICT JUDGE
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